   Case 1:24-cv-00089-DMT-CRH              Document 113        Filed 10/31/24      Page 1 of 2




                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NORTH DAKOTA
                                  WESTERN DIVISION

                                                      )
 STATE OF IOWA, STATE OF NORTH                        )
 DAKOTA, et al.,                                      )
                                                      )
                 Plaintiffs,                          )
                                                      )
         v.                                           )
                                                          No. 1:24-cv-89-DMT-CRH
                                                      )
 COUNCIL ON ENVIRONMENTAL                             )
 QUALITY and BRENDA MALLORY, in her                   )
 official capacity as Chair of the Council on         )
 Environmental Quality,                               )
                                                      )
                 Defendants,                          )
                                                      )
          and                                         )
                                                      )
 ALASKA COMMUNITY ACTION ON                           )
 TOXICS, et al.,                                      )
                                                      )
                 Defendant-Intervenors.               )


                DEFENDANTS’ NOTICE OF LODGING JOINT APPENDIX
        Pursuant to this Court’s July 2, 2024 Text Order (ECF No. 56), Defendants hereby

provide notice of lodging the joint appendix for this action. As detailed in the attached index, the

appendix contains those portions of the full Administrative Record identified by the Parties for

inclusion based on citations in the Parties’ merits briefs. See ECF No. 58-2 (complete

Administrative Record index).

        The documents listed in the index will be filed electronically through the CM/ECF

system as exhibits to this filing.

        Respectfully submitted this 31st day of October, 2024,
Case 1:24-cv-00089-DMT-CRH      Document 113     Filed 10/31/24   Page 2 of 2




              TODD KIM
              Assistant Attorney General
              United States Department of Justice
              Environment & Natural Resources Division

              /s/ Gregory M. Cumming
              Gregory M. Cumming
              Paul G. Freeborne
              Samantha G. Peltz
              United States Department of Justice
              Environment & Natural Resources Division
              Natural Resources Section
              150 M St., N.E.
              Washington, D.C. 20002
              (202) 305-0457 (phone)
              (202) 598-0414 (cell)
              gregory.cumming@usdoj.gov

              Counsel for Federal Defendants




                                     2
